Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 1 of 32




                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA




   IN RE CARNIVAL CORP.                Case No. 1:20-cv-22202-KMM
   SECURITIES LITIGATION
                                       DEFENDANTS’ MOTION TO DISMISS THE
                                       SECOND AMENDED COMPLAINT AND
                                       INCORPORATED MEMORANDUM OF LAW
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 2 of 32




                                                      TABLE OF CONTENTS

   TABLE OF AUTHORITIES .......................................................................................................... ii
   PRELIMINARY STATEMENT .....................................................................................................1
   ARGUMENT ...................................................................................................................................3
   I.        The SAC Fails to Allege Any Actionable Misrepresentations or Omissions ......................3
             A.         The SAC Does Not Adequately Allege That Defendants’ Statements
                        Affirming Carnival’s Compliance with Regulatory Requirements or
                        Implementation of Safety Protocols Were False or Misleading ..............................3
                        1.         The SAC Fails to Allege That Carnival Violated CDC
                                   Requirements ...............................................................................................3
                        2.         The SAC Fails to Allege That Carnival Violated Its Internal
                                   Policies .......................................................................................................10
                        3.         Carnival’s Statements Affirming Regulatory Compliance Are Not
                                   Actionable ..................................................................................................12
             B.         The SAC Does Not Adequately Allege That Defendants Had Unique or
                        Special Access to Information about the Risks to Carnival’s Business of
                        COVID-19 But Failed to Issue Warnings Based on Such Information .................13
                        1.         January 2020 Statements............................................................................14
                        2.         February 2020 Statements..........................................................................15
                        3.         March 2020 Statements..............................................................................16
             C.         Plaintiffs Have Abandoned Their Theory That Defendants Misled
                        Investors about Carnival’s Commitment to Passenger Health and Safety ............17
   II.       The SAC Fails to Allege Scienter ......................................................................................17
             A.         The SAC Fails to Allege That Defendants Had Contemporaneous
                        Knowledge of Facts Contradicting Their Statements about the Risks of
                        COVID-19..............................................................................................................18
             B.         The SAC Fails to Allege That Defendants Had Contemporaneous
                        Knowledge of Facts Contradicting Their Statements about Regulatory
                        Compliance ............................................................................................................19
             C.         Defendants’ Conduct During the Class Period Was Fundamentally
                        Inconsistent with Scienter ......................................................................................22
   III.      The SAC Fails to Allege Loss Causation ..........................................................................23
   IV.       If Plaintiffs’ Claims Are Not Dismissed, the Class Period Should Be Shortened .............25
   CONCLUSION ..............................................................................................................................25




                                                                          i
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 3 of 32




                                               TABLE OF AUTHORITIES

                                                                                                                           Page(s)

   Cases

   In re Altisource Portfolio Sols., S.A. Sec. Litig.,
       2015 WL 12001262 (S.D. Fla. Sept. 4, 2015) .........................................................................23

   Berg v. Velocity Fin., Inc.,
      2021 WL 268250 (C.D. Cal. Jan. 25, 2021) ............................................................................14

   Brophy v. Jiangbo Pharm., Inc.,
      781 F.3d 1296 (11th Cir. 2015) ...............................................................................................19

   Carvelli v. Ocwen Fin. Corp.,
      934 F.3d 1307 (11th Cir. 2019) ...............................................................................................13

   Chiarenza v. IBSG Int’l, Inc.,
      2010 WL 3463304 (S.D. Fla. Sept. 2, 2010) ...........................................................................19

   Douglas v. Norwegian Cruise Lines,
      2021 WL 1378296 (S.D. Fla. Apr. 12, 2021) .................................................................. passim

   Druskin v. Answerthink, Inc.,
      299 F. Supp. 2d 1307 (S.D. Fla. 2004) ....................................................................................20

   Durham v. Whitney Info. Network, Inc.,
      2009 WL 3783375 (M.D. Fla. Nov. 10, 2009) ........................................................................21

   Fidel v. Rampell,
      2005 WL 5587454 (S.D. Fla. Mar. 29, 2005) ..........................................................................20

   FindWhat Inv’r. Grp. v. FindWhat.com,
      658 F.3d 1282 (11th Cir. 2011) ...............................................................................................22

   Garfield v. NDC Health Corp.,
      466 F.3d 1255 (11th Cir. 2006) ...............................................................................................20

   Goldman Sachs Group, Inc. v. Arkansas Teacher Retirement System,
      141 S. Ct. 1951 (June 21, 2021)...............................................................................................23

   Henningsen v. ADT Corp.,
      161 F. Supp. 3d 1161 (S.D. Fla. 2015) ........................................................................21, 22, 23

   In re HomeBanc Corp. Sec. Litig.,
       706 F. Supp. 2d 1336 (N.D. Ga. 2010) ....................................................................................24




                                                                   ii
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 4 of 32




   Howard v. Arconic Inc.,
     395 F. Supp. 3d 516 (W.D. Pa. 2019) ......................................................................................17

   Hubbard v. BankAtlantic Bancorp, Inc.,
      688 F.3d 713 (11th Cir. 2012) .................................................................................................24

   In re KLX, Inc. Sec. Litig.,
       232 F. Supp. 3d 1269 (S.D. Fla. 2017) ..............................................................................19, 22

   Luczak v. Nat’l Beverage Corp.,
      812 F. App’x 915 (11th Cir. 2020) ..........................................................................................25

   McClain v. Iradimed Corp.,
     111 F. Supp. 3d 1293 (S.D. Fla. 2015) ....................................................................................25

   Meyer v. Greene,
      710 F.3d 1189 (11th Cir. 2013) ...............................................................................................23

   In re Miva, Inc., Sec. Litig.,
       2008 WL 681755 (M.D. Fla. Mar. 12, 2008) ..........................................................................25

   Miyahira v. Vitacost.com, Inc.,
      2011 WL 13136262 (S.D. Fla. Dec. 8, 2011) ..........................................................................11

   Mizzaro v. Home Depot, Inc.,
      544 F.3d 1230 (11th Cir. 2008) .............................................................................19, 20, 21, 23

   Mogensen v. Body Cent. Corp.,
     15 F. Supp. 3d 1191 (M.D. Fla. 2014) ...............................................................................20, 21

   Mulvaney v. GEO Grp., Inc.,
      237 F. Supp. 3d 1308 (S.D. Fla. 2017) ....................................................................................11

   In re NDCHealth Corp., Inc., Sec. Litig.,
       2005 WL 6074918 (N.D. Ga. July 27, 2005)...........................................................................22

   Nguyen v. Endologix, Inc.,
      962 F.3d 405 (9th Cir. 2020) ...................................................................................................23

   In re Ocwen Fin. Corp. Sec. Litig.,
       2015 WL 12780960 (S.D. Fla. Sept. 4, 2015) .........................................................................23

   Ong v. Chipotle Mexican Grill, Inc.,
      294 F. Supp. 3d 199 (S.D.N.Y. 2018)......................................................................................17

   Plymouth Cty. Ret. Sys. v. Carter’s Inc.,
      2011 WL 13124501 (N.D. Ga. Mar. 17, 2011)........................................................................22




                                                                    iii
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 5 of 32




   City of Roseville Emps.’ Ret. Sys. v. EnergySolutions, Inc.,
       814 F. Supp. 2d 395 (S.D.N.Y. 2011)......................................................................................14

   Singh v. Cigna Corporation,
      918 F.3d 57 (2d Cir. 2019).......................................................................................................13

   In re Sunterra Corp. Sec. Litig.,
       199 F. Supp. 2d 1308 (M.D. Fla. 2002) ...................................................................................22

   Thomas v. Shiloh Indus., Inc.,
      2017 WL 1102664 (S.D.N.Y. Mar. 23, 2017) .........................................................................22

   United States v. US Stem Cell Clinic, LLC,
      403 F. Supp. 3d 1279 (S.D. Fla. 2019) ......................................................................................4

   Waterford Twp. Gen. Emps. Ret. Sys. v. SunTrust Banks Inc.,
      2010 WL 3368922 (N.D. Ga. Aug. 19, 2010) .........................................................................24

   Statutes

   Private Securities Litigation Reform Act of 1995 (“PSLRA”)........................................1, 6, 21, 22

   Other Authorities

   Fed. R. Civ. P. 9(b) ......................................................................................................................1, 6

   Fed. R. Civ. P. 12(b)(6)....................................................................................................................1




                                                                         iv
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 6 of 32




          Pursuant to Federal Rules of Civil Procedure 9(b) and 12(b)(6) and the Private Securities
   Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-4(b), upon the incorporated
   memorandum of law, the accompanying Declaration of Daniel S. Sinnreich dated August 6, 2021
   and its exhibits, and all other papers herein, Defendants Carnival Corp., Carnival plc
   (collectively, “Carnival” or the “Company”), and Arnold Donald (together with Carnival, the
   “Defendants”) hereby move this Court to dismiss the Second Amended Class Action Complaint
   filed on July 2, 2021, Dkt. 74, in its entirety and with prejudice.
                                    PRELIMINARY STATEMENT
          Plaintiffs’ Second Amended Complaint (“SAC”) addresses none of the fundamental
   defects in the Amended Complaint (“AC”) identified in the Court’s May 28 Order, Dkt. 71 (the
   “Order”). It should be dismissed, with prejudice, for the same reasons.
          The AC alleged that Defendants fraudulently misled investors in early 2020 about
   Carnival’s regulatory compliance, commitment to health and safety, and the risks of coronavirus,
   based on purported regulatory violations and the fact that passengers and crew contracted
   COVID-19 aboard certain vessels in February and March 2020. See Dkt. 51. The Court held,
   principally, that Carnival’s alleged regulatory violations—such as failing to implement
   temperature checks and require social distancing and masks on certain vessels—“suggest[ed]
   that far more stringent requirements should have been in effect ship-wide than existed in real
   time.” Order 28. Plaintiffs’ arguments improperly “require[d] the Court to infer that, because
   passengers would ultimately fall ill aboard Carnival’s ships—just as people did in other venues
   across the globe—Carnival was non-compliant with health and safety standards.” Order 27.
          The SAC fails to identify any new categories of violations or any additional regulations
   or safety protocols. Nor does it identify any additional ships on which alleged problems
   occurred. The principal change Plaintiffs have effected in response to the Court’s Order is to add
   approximately 50 paragraphs providing additional examples of alleged failures to implement
   adequate screening and sanitation protocols or require masks or social distancing in exactly the
   same ten-week time period from January 20, 2020 to March 30, 2020. But the SAC is still
   describing the same alleged violations of the same regulations aboard the exact same eight
   Carnival ships already alleged in approximately 50 paragraphs of the AC. The Court did not
   dismiss the prior complaint because it found that it contained an insufficient number of alleged
   examples of regulatory violations. Rather, the Court dismissed the complaint because it failed to
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 7 of 32




   allege that Carnival committed fraud by failing to anticipate the course of the pandemic or by
   violating “regulations” that simply did not exist at the time. The SAC doubles down on this
   fundamentally flawed theory and the Court should reject it again.
          The SAC does virtually nothing to attempt to cure the other deficiencies in the AC
   identified in the Court’s Order. The Court previously rejected Plaintiffs’ argument that
   Defendants failed to adequately disclose the risks of COVID-19, holding that Plaintiffs pleaded
   no facts showing that Defendants had “any more insight as to the impact of COVID-19 than the
   average person.” Order 19. Plaintiffs continue to pursue this theory, but the SAC adds only two
   new sentences describing a former employee who recalls that a single unspecified and undated
   fulfillment order from Italy did not arrive because of a COVID-19 shutdown. This new
   allegation does not overcome the Court’s conclusion that the AC failed to allege that Defendants
   somehow knew and failed to disclose the scope and impact of the virus in early 2020. As for the
   theory that Defendants misled investors about their commitment to health and safety, the SAC
   abandons it altogether.
          The Court also dismissed the prior complaint because it failed to raise a strong inference
   that “Defendants possessed some greater knowledge than the CDC or the WHO as to the
   devastation COVID-19 would ultimately cause.” Order 33. The Court further held that
   Defendants’ conduct, such as voluntarily suspending Carnival’s global voyages, “cut against”
   scienter and rendered Plaintiffs’ theory not “as compelling as the opposing inferences that one
   could draw from the facts alleged.” Order 33. The SAC adds only a single new scienter
   allegation: a vague recollection by an anonymous “former employee” that Carnival executives
   met in late January and early February 2020 to discuss COVID-19. But Plaintiffs do not allege
   that there was any discussion of Carnival’s safety protocols and compliance, or that Carnival
   executives were apprised during these meetings of developments on any of the ships; indeed, the
   SAC fails to identify—even in conclusory fashion—any fact made known to the Defendants
   during these meetings that contradicted any public statement by the Company.
          In short, the SAC continues to fault Defendants for failing to anticipate the course of a
   global pandemic and failing to implement safety protocols that were not recommended, much
   less required, in early 2020. The SAC fails to identify any material misleading statement or
   omission, fails to adequately allege scienter or loss causation, and should be dismissed again, this
   time with prejudice.



                                                                                                       2
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 8 of 32




                                              ARGUMENT
   I.     The SAC Fails to Allege Any Actionable Misrepresentations or Omissions
          A.      The SAC Does Not Adequately Allege That Defendants’ Statements
                  Affirming Carnival’s Compliance with Regulatory Requirements or
                  Implementation of Safety Protocols Were False or Misleading
          Plaintiffs allege that Defendants’ statements throughout the Class Period affirming
   Carnival’s compliance with health and safety regulations were materially misleading because
   Carnival purportedly violated certain agency rules and internal protocols in February and March
   2020. See SAC pp. 88-90 (“SAC Chart”) & ¶¶ 16-17, 78, 229, 305, 316, 324. The Court
   previously rejected this argument because the complaint “suggest[ed] that far more stringent
   requirements should have been in effect ship-wide than existed in real time.” Order 28. Rather
   than specify actual regulatory infractions, “Plaintiffs’ arguments require[d] the Court to infer
   that, because passengers would ultimately fall ill aboard Carnival’s ships—just as people did in
   other venues across the globe—Carnival was non-compliant with health and safety standards.”
   Order 27. But “[t]hat inference is too tenuous to meet the heightened pleading standard
   applicable in the securities fraud context.” Id.
          The SAC adds no allegations describing new safety regulations or internal protocols
   during the Class Period. Instead, the SAC adds many paragraphs elaborating on the same
   supposed violations of the same supposed regulations aboard the same vessels discussed in the
   prior complaint. These “new” allegations are incrementally insignificant and fail to demonstrate
   that Defendants’ conduct violated a single contemporaneous safety regulation, much less rose to
   the level of fleet-wide noncompliance that would render Defendants’ statements misleading.
                  1.      The SAC Fails to Allege That Carnival Violated CDC Requirements
          The SAC cites only two regulations that Carnival vessels allegedly violated: (i) the
   CDC’s Guidance for Cruise Ships on Influenza-Like Illness Management (the “ILI Guidance”),
   issued in 2016, and (ii) the CDC’s Interim Guidance for Ships on Managing 2019 Novel
   Coronavirus, issued on February 12, 2020 (the “Interim Guidance”). See SAC Chart & ¶¶ 17,
   305, 316, 324. But these are the same two sets of CDC guidance that Plaintiffs alleged were
   violated in the prior complaint. See AC ¶¶ 140, 225, 247, 250. The Court closely examined
   these Guidelines and found no violations alleged. Although the SAC adds some citations to
   additional provisions of the same Guidelines, these citations do not change the analysis or result.
          As a threshold matter, the ILI and Interim Guidance were not binding regulations that


                                                                                                      3
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 9 of 32




   could be “violated.” Both documents were “guidance” that provided only “recommendations”
   and “requests” to cruise ship operators. Exs. 1-2. 1 See United States v. US Stem Cell Clinic,
   LLC, 403 F. Supp. 3d 1279, 1295 (S.D. Fla. 2019) (finding agency guidance did not have a
   “binding legal effect” given that its language “d[id] not command the parties or impose any
   obligations”). Moreover, the ILI and Interim Guidance applied only to cruise ships “originating
   from, or stopping in, the United States.” Ex. 1 at 2; Ex. 2 at 2. Thus, the conduct aboard five
   vessels detailed in the SAC—the Diamond Princess, Westerdam, Coral Princess, Zaandam, and
   Ruby Princess—could not have “violated” either set of guidance because those ships had no
   contact with the United States. In any event, the SAC—like its predecessor—alleges that
   Carnival vessels violated rules and recommendations that simply weren’t in effect in early 2020.
           Distancing and Masks Aboard Cruises or When Disembarking. The prior complaint
   faulted Carnival for failing to distribute masks to all passengers and implement social distancing
   protocols on its ships in early 2020. For example, the AC alleged that “passengers were not
   given masks or other PPE” after the Diamond Princess learned that a former passenger tested
   positive for COVID-19, and that the vessel “did not impose adequate distancing measures in
   common areas.” AC ¶¶ 103, 106. The AC similarly alleged that the Carnival Ecstasy and Coral
   Princess sailed with “no modifications imposed to accommodate social distancing
   guidelines[.]” AC ¶ 141. The Court rejected these allegations because the CDC’s Guidance
   “only instructed Carnival on how to handle [a symptomatic] passenger and crewmembers who
   came in contact with the passenger,” and the AC contained no allegations about Carnival’s
   handling of symptomatic passengers. Order 28. The Court similarly held that the CDC did not
   recommend “ship-wide distribution of masks and PPE,” and that even the Interim Guidance
   “only suggested the use of a mask for patients suspected of having COVID-19.” Order 28.
           The SAC repeats these allegations, see SAC ¶¶ 123, 215, 305, and alleges substantially
   similar conduct aboard other ships. For example, Plaintiffs now allege that the Grand Princess
   failed to implement “social distancing protocols” after two passengers developed COVID-19
   symptoms. SAC ¶ 157. Plaintiffs also allege that when passengers disembarked the Costa
   Luminosa, Ruby Princess, and Coral Princess, they were “not instructed to maintain any distance
   between themselves and other passengers and were not provided masks or gloves.” SAC ¶ 193;

   1
       References to “Ex. __” refer to exhibits to the attached Declaration of Daniel S. Sinnreich. Page citations refer
       to the PDF pagination of exhibits, inclusive of exhibit cover page.



                                                                                                                           4
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 10 of 32




   accord id. ¶¶ 182, 201. Plaintiffs allege that the failure to implement these measures violated the
   CDC’s recommendations that passengers with ILI or who are “suspected of having [COVID-
   19]” practice social distancing and isolate in their cabins. SAC ¶ 142; see SAC Chart 88-89 &
   ¶¶ 16-17, 126, 215, 229, 305; Ex. 1 at 2-4; Ex. 2 at 3-4. Again, however, Plaintiffs do not allege
   that Carnival failed to take appropriate precautions with passengers and crew who were ill or
   were exhibiting COVID-19 symptoms. The Court should reject Plaintiffs’ new allegations for
   the same reason it rejected the previous allegations: the CDC simply did not recommend in early
   2020 that ships impose social distancing or mask requirements for non-sick passengers.
          Proper Use of PPE. The prior complaint alleged that crewmembers on certain vessels
   “did not wear masks or gloves to deliver food to passengers’ cabins” despite a “coronavirus
   outbreak” on board. AC ¶ 162 (Zaandam); see also AC ¶ 110 (after Diamond Princess imposed
   ship-wide quarantine, crew members reused gloves for food delivery, “stood face-to-face with
   passengers while delivering food,” and “collected dirty dishes and used linens without full
   protective gear”). The Court previously rejected these allegations, holding that “Defendants did
   not state that crew members would be required to wear masks or gloves, or that any PPE would
   be provided to them by Carnival, nor do Lead Plaintiffs show with any specificity that such
   broad, general measures were recommended by the CDC in February 2020.” Order 23.
          The SAC repeats these allegations, see SAC ¶¶ 129, 223, and adds new allegations of
   similar conduct on other vessels. For example, Plaintiffs have added allegations that after the
   Grand Princess imposed a ship-wide quarantine it was “running low on surgical masks” and “not
   all of the crew were wearing masks and gloves.” SAC ¶ 167; see also SAC Chart 88, 90.
   Similarly, Plaintiffs now allege that after the Costa Luminosa disembarked three passengers with
   COVID-19 symptoms, its crew “began wearing napkins over their mouths and using napkins to
   grab plates to deliver food to passengers’ cabins.” SAC ¶ 181.
          Plaintiffs do not allege that Carnival thereby violated a requirement that all crew
   members use masks and gloves on vessels. That is because there was no such requirement. Both
   the ILI and Interim Guidance stated that masks were “not generally recommended . . . for general
   work activities,” although they “can be considered for cruise ship workers who can’t avoid close
   contact with people” exhibiting symptoms. Ex. 2 at 6 (emphases added). And although the
   Interim Guidance recommended that crew wear gloves if they “need to have direct contact with
   sick people” or rooms “used by sick [people],” Ex. 2 at 6, Plaintiffs do not allege that gloves



                                                                                                      5
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 11 of 32




   were not worn in such situations. To be sure, Plaintiffs do allege that these new allegations show
   that Carnival violated recommendations in both sets of Guidance that cruise ship operators
   “[i]nstruct crew members on the proper use, storage, and disposal of PPE.” SAC Chart 90
   (emphasis added); Ex. 1 at 6; Ex. 2 at 6. But, having failed to allege that any use of PPE was
   improper at the time, there is no factual allegation in the SAC to support a claim that Carnival
   failed to instruct crew members in proper PPE use.
           Enhanced Cleaning Measures. Plaintiffs previously alleged that Defendants failed to
   implement “enhanced” cleaning protocols on certain vessels. E.g., AC ¶ 108 (alleging Diamond
   Princess “ignored” recommendation of “Hong Kong health officials” to perform “thorough
   environmental cleansing and disinfection,” and that the vessel’s procedures were “low-level and
   minimal at best”); id. ¶ 162 (alleging that Zaandam did not take “additional cleaning measures”
   until two weeks into voyage). But as the Court previously held, “Plaintiffs fail to show with any
   specificity that enhanced cleaning measures were not conducted.” Order 23 (emphasis added).
           Once again, the SAC repeats these allegations, see SAC ¶¶ 127, 244, and tacks on similar
   allegations aboard other vessels. For example, Plaintiffs allege that Carnival “did not take
   measures to disinfect, sanitize, or otherwise decontaminate” the Coral Princess prior to boarding,
   SAC ¶ 196, and certain passengers allegedly recalled that the Carnival Ecstasy “was not cleaned
   or sanitized,” SAC ¶ 213; see also SAC Chart 88, 90. The bare allegation that a vessel “did not”
   sanitize or “was not” cleaned does not meet the heightened pleading standard under Rule 9(b)
   and the PSLRA. Nor do Plaintiffs explain how an unspecified number of “passengers” would
   have knowledge of the ship-wide sanitation protocols aboard the Carnival Ecstasy, which carries
   “over 2,000 passengers.” See SAC ¶ 212.2 In any event, the CDC never recommended that ships
   implement enhanced cleaning measures, either prior to boarding or during voyages. The Interim
   Guidance states that “in addition to routine cleaning and disinfection strategies, ships may
   consider more frequent cleaning of commonly touched surfaces,” but that “widespread
   disinfection is unlikely to be effective.” Ex. 2 at 8 (emphasis added). That Plaintiffs now view
   Carnival’s cleaning procedures as “low-level” and inadequate—with the benefit of hindsight—
   does not transform Defendants’ statements about regulatory compliance into securities fraud.

   2
       To the extent Plaintiffs are implying that these vessels were not cleaned at all, such an allegation would be
       inconsistent with the several examples of cleaning and sanitizing aboard Carnival vessels described in the SAC.
       E.g., SAC ¶¶ 163-64 (Grand Princess “increased its sanitary precautions” and conducted “enhanced
       environmental disinfection” the day after learning that a former passenger tested positive for COVID-19).


                                                                                                                     6
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 12 of 32




           Continuation of On-Board Activities and Shore Excursions. The prior complaint alleged
   that several Carnival vessels permitted on-board activities and shore excursion to continue
   despite individuals on board exhibiting “suspicious symptoms.” See, e.g., AC ¶ 103 (alleging
   that the Diamond Princess “discontinu[ed] only some scheduled activities” after learning a
   former passenger tested positive for COVID-19); ¶ 140 (alleging that passengers on the Carnival
   Ecstasy “engage[d] in group activities” and ate and drank at buffets and bars); ¶ 144 (alleging
   that passengers on the Costa Luminosa disembarked for an excursion in Puerto Rico despite a
   passenger having flu-like symptoms and difficulty breathing). The Court discussed these
   allegations several times in its prior decision, see Order 21, 27, 29-30, and rejected them along
   with several other steps Carnival supposedly “should have taken” because the steps “did not have
   broad application at the time and were related to handling a passenger suspected of having an
   ILI, or crew members who may have come in contact with such a passenger.” Order 27-28.
            The SAC repeats these allegations, see SAC ¶¶ 123, 177, 213, and adds new allegations
   about similar conduct aboard other vessels. For example, the SAC adds allegations that the
   Ruby Princess allowed passengers to access “the pools, gym, and buffets aboard the ship” after
   learning that a former passenger tested positive for COVID-19 and despite passengers “showing
   suspicious symptoms.” SAC Chart 89 & ¶ 190. The SAC also adds allegations that passengers
   aboard the Zaandam continued to dine at buffets and “attend nightly entertainment” even after
   some “passengers and crew were exhibiting COVID-19 symptoms.” SAC Chart 89 & ¶ 223. 3
           The alleged conduct did not violate any CDC guidelines. Plaintiffs argue that the alleged
   conduct violated the Interim Guidance’s recommendation to “isolat[e] passengers and crew in
   their cabins or quarters with the door closed until symptoms are improved.” SAC Chart 88-89 &
   ¶¶ 16-17, 143, 229. Plaintiffs deliberately omit that this guidance applied only to passengers and
   crew “who are suspected of having [COVID-19]” and those who had “high-risk exposures” to
   such individuals. Ex. 2 at 4. Neither the ILI nor Interim Guidance recommended canceling any

   3
       See also SAC ¶ 107 (alleging that, even after Defendants learned that a former passenger tested positive for
       COVID-19 on February 1, the Diamond Princess continued to offer onboard activities such as “opera
       performances,” a “Zumba class,” and “the ship’s buffets”); id. ¶¶ 160-66 (alleging that formal dinners and poker
       nights continued aboard the Grand Princess despite passengers on its prior voyage exhibiting COVID-19
       symptoms); id. ¶ 180 (alleging that the Costa Luminosa continued to provide access to the ship’s “casino, pools,
       gym, spa, bars, and buffets,” and “did not instruct passengers to quarantine or otherwise isolate themselves[,]”
       after learning on March 13 that a former passenger had tested positive for COVID-19); id. ¶¶ 199-205 (alleging
       that the Coral Princess allowed passengers “to continue exercising, eating, drinking, and dancing in communal
       areas” around the same time that a “number of passengers” were ill “in the sick bay”).


                                                                                                                     7
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 13 of 32




   activities—including shows, indoor dining, or shore excursions—just because certain passengers
   or crew developed COVID-19 symptoms. See Exs. 1-2. Neither set of guidance recommended
   these measures even if there were a confirmed case of COVID-19 on board. See id.
           Moreover, as the SAC’s new allegations demonstrate, Carnival ships frequently exceeded
   CDC recommendations. For example, the vessels described in the SAC implemented full, ship-
   wide quarantines shortly after learning that a current or former passenger tested positive for
   COVID-19. See, e.g., SAC ¶¶ 163-64 (Grand Princess implements ship-wide quarantine and
   cancels turn-down service and communal activities after learning that a former passenger tested
   positive for COVID-19).4 Neither the ILI Guidance nor the Interim Guidance recommended
   canceling any activities, much less instituting a ship-wide lockdown, in these situations. See
   Exs. 1-2. These actions, much like Carnival’s decision to affirmatively suspend its global
   cruising operations prior to the CDC’s No Sail Order, see SAC ¶ 216, are fundamentally at odds
   with Plaintiffs’ theory of securities fraud. See Order 33.
           Pre-Boarding Temperature Checks and Screenings. The prior complaint alleged that
   Carnival’s pre-boarding screening protocols were inadequate on certain vessels. See, e.g., AC
   ¶ 140 (alleging that Carnival Ecstasy personnel “had not conducted pre-boarding screening or
   evaluation” for COVID-19 symptoms); id. ¶ 162 (alleging that the Zaandam failed to “take all
   boarding guests’ temperatures, give out hand sanitizer, and closely check guests’ passports for
   any suspicious recent travel”). The Court discussed these allegations throughout its Order, see
   Order 7, 22-23, 27, and rejected them because, like many of Carnival’s supposed violations,
   these were based on protocols that “did not have broad application at the time.” Order 27-28.
           The SAC repeats these allegations, e.g., SAC ¶¶ 212, 244, and adds new allegations
   describing substantially similar “failures” aboard other vessels. For example, the SAC alleges
   that there were no “effective procedures” for screening crewmembers, and that passengers
   reported no “additional or enhanced” screening procedures, prior to boarding the Coral Princess.
   SAC Chart 89 & ¶¶ 194-95. Plaintiffs also allege that passengers were not “temperature
   checked” or “medically examined” prior to boarding Ruby Princess. SAC ¶ 189. The SAC’s

   4
       See also SAC ¶¶ 104-06, 108, 121 (Diamond Princess screens passengers and imposes ship-wide quarantine
       after learning that one former passenger tested positive for COVID-19); id. ¶ 181 (Costa Luminosa informs
       passengers that two former passengers tested positive for COVID-19 and imposes ship-wide quarantine within
       two days of learning of diagnosis); id. ¶ 207 (Coral Princess instructs passengers to isolate in cabins due to high
       number of sick passengers before any confirmed case of COVID-19); id. ¶¶ 225-27, 244 (Zaandam distributes
       masks to passengers and instructs passengers to isolate in cabins due to confirmed case of COVID-19 on board).


                                                                                                                        8
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 14 of 32




   new allegations fail to demonstrate any regulatory violation.
          Plaintiffs concede, as they must, that neither the ILI nor Interim Guidance recommended
   that cruise ships conduct “verbal or written screenings” or “temperature checks” during the Class
   Period. See Ex. 3 ¶ 144. In fact, the CDC did not begin recommending these measures until July
   2020. See Ex. 4 at 3-4. Plaintiffs allege that Defendants nonetheless violated the Interim
   Guidance’s recommendation that vessels “[d]eny boarding of a passenger or crew member who
   is suspected to have [COVID-19] based on signs and symptoms plus travel history in China or
   other known exposure.” Ex. 2 at 4; SAC Chart 89 & ¶ 143. But the Interim Guidance did not
   recommend any particular method for determining whether a boarding passenger had COVID-19
   “signs or symptoms,” and Plaintiffs plead no facts suggesting that Carnival permitted any
   passenger with suspicious symptoms and travel history in China to board any vessel. The SAC
   also concedes that Carnival vessels did conduct various pre-boarding screening protocols. See,
   e.g., SAC ¶¶ 95 (pre-boarding questionnaire), 155 (affirmation that not ill), 159 (passengers with
   certain travel history denied entry); 188 (boarding and departure “delayed by the screening for
   passengers”), 194 (passengers with certain passports denied entry). Plaintiffs’ belief—with the
   benefit of hindsight—that Carnival should have implemented additional screening protocols
   before they were recommended by any regulator cannot support a securities fraud claim.
          Failure to Offer Customers Refunds. Plaintiffs previously alleged that a former employee
   was instructed to discourage customer cancellations during the Class Period by offering
   customers “incentives” such as “a double cruise in the future.” AC ¶¶ 114-17. The Court
   discussed these allegations in the May 28 Order, see Order 5-6, 29-30, and implicitly rejected
   them when it concluded that Plaintiffs failed to plead any material misrepresentations.
          The SAC repeats these allegations, see SAC ¶¶ 134-38, and adds several new allegations
   that, before March 6, 2020, certain passengers were told that they would not receive a full refund
   if they canceled their scheduled cruise travel. See SAC ¶¶ 161, 174, 194, 219. But Plaintiffs do
   not allege that this purported policy violated any rule or regulation, or contradicted any public
   statement by any Defendant. Rather, Plaintiffs’ allegations suggest that Carnival began to offer
   full refunds to customers before any government agency even advised against cruise travel. See
   SAC ¶ 179 (CDC warns U.S. citizens about cruise ship travel on March 8, 2020). Plaintiffs’
   belief that Carnival should, as a business matter, have begun offering refunds at an earlier date
   does not demonstrate regulatory noncompliance and does not support a securities fraud claim.



                                                                                                       9
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 15 of 32




   See Douglas v. Norwegian Cruise Lines, 2021 WL 1378296, at *5-6 (S.D. Fla. Apr. 12, 2021)
   (dismissing claim that cruise company misled investors by promoting aggressive sales practices
   during February and March 2020 notwithstanding the coronavirus).
          Insufficient Medical Supplies. The AC alleged that, several weeks into the Zaandam’s
   voyage, Carnival deployed another one of its ships to “provide it with supplies, staff, and
   COVID-19 testing kits.” AC ¶ 161. The Court did not have occasion to address this allegation.
          The SAC elaborates, alleging that the need to restock indicates that the Zaandam initially
   had insufficient “oxygen cylinders” and “masks.” SAC ¶ 225. Similarly, the SAC alleges that
   Carnival deployed another vessel to meet up with the Coral Princess nearly a month into its
   voyage to provide it with additional “medical personnel, oxygen tanks, and . . . medical supplies,
   demonstrating that the Coral Princess had not been sufficiently stocked pursuant to the [Interim
   Guidance].” Id. ¶ 209; see also id. ¶ 185 (alleging that the Ruby Princess had insufficient viral
   swabs onboard the vessel). Again, Plaintiffs misrepresent the CDC’s recommendation. The
   Interim Guidance recommends that vessels carry sufficient “medical supplies to meet day-to-day
   needs[,]” and have “contingency plans for rapid resupply during outbreaks.” Ex. 2 at 8
   (emphasis added). The allegation that Carnival deployed its own ships to resupply cruises with
   medical supplies is fully consistent with the Interim Guidance. Further, the Zaandam restocked
   masks to distribute them to passengers, SAC ¶ 225, which, as described above, was not even
   recommended during the Class Period and does not demonstrate an insufficient supply.
                  2.      The SAC Fails to Allege That Carnival Violated Its Internal Policies
          The SAC, like the AC, alleges that the same conduct described above also violated
   various internal policies during the Class Period. But the SAC identifies no new internal
   policies, and Plaintiffs’ allegations should be rejected for the reasons articulated in the Order.
          Plaintiffs allege that Defendants misled investors when they stated in February and
   March 2020 that Carnival had implemented “enhanced” screening and sanitation protocols,
   citing the exact same statements they identified in the prior complaint. See, e.g., SAC ¶ 315
   (“[w]e have protocols, standards and practices for . . . coronavirus”); id. ¶ 322 (“[we have]
   enhanced our pre-boarding and onboard health protocols”); id. ¶ 323 (“[w]e have enhanced
   sanitation protocols”); id. ¶ 325 (“[w]e have implemented higher and higher levels of screening,
   monitoring and sanitation protocols”); compare AC ¶¶ 237, 245-46, 248. The Court previously
   rejected a substantially similar argument, explaining that the fact that Defendants’ safety



                                                                                                        10
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 16 of 32




   protocols “would not ultimately prove to be effective to combat the coronavirus” is “hindsight
   knowledge [that] cannot be used to assert securities fraud.” Order 22.
           In any event, the SAC’s references to unspecified “enhanced . . . protocols” are vague
   and not actionable. Another court in this district recently dismissed securities fraud allegations
   against a cruise line based on substantially similar statements that it had taken “several proactive
   measures” to protect the health and safety of its passengers and crew during COVID-19.
   Norwegian Cruise Lines, 2021 WL 1378296, at *6. The court explained that it was “unclear . . .
   what the proactive safety measure entailed” and therefore that the statements were “extremely
   vague” and “not actionable.” Id. So too here.
           The SAC’s principal new allegation is attributed to a former “Program Manager” for
   Princess Cruise Line (“FE3”), who was allegedly involved in the Diamond Princess response in
   “early February” 2020. SAC ¶ 125. Plaintiffs allege that FE3 “did not believe that Carnival had
   an outline that it could follow to address specific [sic] during a pandemic[,]” and that Carnival
   lacked protocols “‘to deal with COVID,’ particularly shore-side.” SAC ¶ 132. But the SAC
   does not allege that FE3 conveyed his criticisms to senior management, or even that he told
   anyone about his views at the relevant time.
           Moreover, the mere fact that a single midlevel employee now expresses criticisms of
   Carnival’s practices does not mean that the Company’s actions were inadequate. See Mulvaney
   v. GEO Grp., Inc., 237 F. Supp. 3d 1308, 1313, 1321–22 (S.D. Fla. 2017) (rejecting allegations
   that defendant’s statements about its quality of services were false when plaintiffs relied on
   subjective opinions from former employees that defendant’s business had “low staffing levels,
   disciplinary issues, security issues, and poor working conditions,” but failed to provide facts to
   support these criticisms).5 The SAC contains no allegations describing what FE3 observed about
   Carnival’s protocols nor why they were inadequate. See SAC ¶ 132. In fact, FE3’s recollection
   is not even attributed to first-hand observations, but rather to his personal belief—in hindsight—
   that Carnival’s protocols must have been inadequate because, were it otherwise, “‘we wouldn’t
   have had to go through what we did.’” Id.
           The remaining allegations concerning Carnival’s internal policies are all recycled from


   5
       See also Miyahira v. Vitacost.com, Inc., 2011 WL 13136262, at *5 (S.D. Fla. Dec. 8, 2011) (dismissing
       securities fraud claims because “[a] pleading is insufficient when the allegations are based on ‘subjective
       generalizations’ or ‘tales from the trenches’ by confidential witnesses.”).



                                                                                                                     11
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 17 of 32




   the prior complaint. The SAC alleges that Defendants misled investors merely by mentioning
   the existence of Carnival’s HESS Committee, which was charged generally with supervising and
   monitoring health, environmental, safety, security, and sustainability initiatives. SAC ¶¶ 317-19;
   compare AC ¶¶ 239-44. But, as the Court previously held, these statements are not misleading
   because “Plaintiffs do not argue that those committees did not exist; rather, Lead Plaintiffs infer
   that the Committees were not effective because Carnival would ultimately suffer financial loss as
   a result of the pandemic.” Order 21. 6
           The SAC also recycles the allegation that several statements describing Carnival’s goals
   and initiatives were misleading, including the statement that Carnival’s medical experts were
   coordinating with the CDC and WHO “to implement recommended screening, prevention and
   control measures for our ships.” SAC ¶ 298 (emphasis added); see id. ¶ 312 (same); id. ¶ 314
   (same); id. ¶ 318 (Carnival’s HESS Policy promotes an organization “that strives to be free of
   injuries, illness and loss”) (emphasis added); compare AC ¶¶ 209, 218, 232, 236. The Court
   previously found that these precise statements were not misleading because they described
   “incomplete actions, ongoing initiatives, or aspirational goals,” which “cannot be objectively
   measured in the face of a rapidly evolving global pandemic such as coronavirus.” Order 21-22. 7
                    3.       Carnival’s Statements Affirming Regulatory Compliance Are Not
                             Actionable
           Even if the new allegations did describe conduct that violated a regulatory requirement
   (or a CDC “recommendation”), they would not render Carnival’s statements about regulatory
   compliance actionable, as this Court has already held. In addition to its own health and safety
   policies, Carnival operates in over 700 ports around the world and is “subject to numerous
   international, national, state and local laws, regulations, treaties and other legal requirements”
   that “change regularly, sometimes on a daily basis.” See Ex. 6 at 21. No reasonable investor


   6
       Plaintiffs argue again that Carnival’s conduct violated the company’s HESS Policy. SAC ¶¶ 291-93; compare
       AC ¶¶ 209-11. But the HESS Policy is a short corporate document affirming Carnival’s commitment to health
       and safety; it does not contain any specific protocols or measures required on Carnival vessels. See Ex. 5. The
       Court previously rejected Plaintiffs’ arguments that the HESS Policy itself was a misleading statement, see
       Order 11-12, and that the HESS Policy “provided a compliance framework” that Carnival violated by failing to
       require social distancing, mask use, and enhanced sanitation aboard vessels, see Order 27.
   7
       Plaintiffs have also retained the allegation in the AC that Carnival failed to use pre-boarding temperature checks
       on three of Carnival’s 104 vessels and that this contradicts Defendants’ statements that guests would be
       temperature checked in “many of our embarkation ports.” SAC Chart 89 & ¶ 322. As the Court previously
       held, this statement was not misleading because “Defendants did not state that temperature checks would be
       conducted at all embarkation points, but rather ‘many.’” Order 23 (emphases in original).


                                                                                                                      12
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 18 of 32




   would have interpreted Carnival’s comments as a guarantee that the Company would always
   comply with every one of the myriad of potentially applicable rules and regulations. See Order
   22 (dismissing claims based on statements describing “aspirational goals”).
          The Second Circuit’s decision in Singh v. Cigna Corporation, 918 F.3d 57 (2d Cir. 2019)
   is instructive. In Singh, plaintiffs alleged that defendants’ statements that they had “established
   policies and procedures to comply with applicable [regulatory] requirements” were materially
   misleading because a regulator later found that the company had committed several violations.
   Id. at 60–61. The appellate court affirmed dismissal of these claims. The court rejected
   plaintiffs’ “creative attempt to recast” regulatory violations as securities fraud and explained that
   “such generic statements [regarding compliance] do not invite reasonable reliance . . . and so
   cannot form the basis of a fraud case.” Id. at 59–60. The court also emphasized that defendants’
   statements about regulatory compliance were, like Carnival’s disclosure, “framed by
   acknowledgements of the complexity and numerosity of applicable regulations,” which
   “suggests caution (rather than confidence) regarding the extent of [defendant’s] compliance.” Id.
   at 64. Recent decisions from the Eleventh Circuit and this district are in accord. See, e.g.,
   Carvelli v. Ocwen Fin. Corp., 934 F.3d 1307, 1320–22 (11th Cir. 2019) (explicitly adopting the
   reasoning in Singh and affirming dismissal of statements about “regulatory compliance and risk
   management efforts” as “quintessential puffery”); Norwegian Cruise Lines, 2021 WL 1378296,
   at *6-7 (cruise line’s statements during COVID-19 pandemic that employees “comply with all
   applicable laws and regulations,” and that company had “taken several proactive measures to
   protect the health and safety of its guests and crew,” were vague and inactionable puffery).
          B.      The SAC Does Not Adequately Allege That Defendants Had Unique or
                  Special Access to Information about the Risks to Carnival’s Business of
                  COVID-19 But Failed to Issue Warnings Based on Such Information
          The Court previously rejected Plaintiffs’ allegations that Defendants misled investors
   about the risks of COVID-19 in early 2020, citing both Defendants’ robust disclosures and
   Plaintiffs’ failure to allege that Defendants had “any more insight as to the impact of COVID-19
   than the average person . . . could readily ascertain.” Order 19-25. The SAC does not even try
   to cure these deficiencies. Plaintiffs identify no new misleading statements or omissions. Nor
   are there any additional allegations describing risks of COVID-19 that were discussed in
   contemporaneous medical advisories or regulatory guidance, or imputing nonpublic knowledge
   of the risks of COVID-19 to Defendants. Plaintiffs’ allegations should be rejected for the


                                                                                                      13
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 19 of 32




   reasons stated in the Court’s May 28 Order.
                  1.      January 2020 Statements
          The SAC identifies no new misleading statements or omissions in January 2020.
   Plaintiffs repeat their allegation that Carnival’s Form 10-K for 2019, filed on January 28, 2020,
   was misleading because it failed to disclose the likely impact of COVID-19 on the Company’s
   business and passengers. SAC ¶¶ 301-11; compare AC ¶¶ 221-31. But the Court already
   rejected this argument, citing “the COVID-19 specific warnings provided in Carnival’s 2019 10-
   K.” Order 19-20; see Ex. 6 at 21, 26. Plaintiffs add a redundant allegation that Defendants’
   “failure to include a COVID-19 risk factor” in the 10-K violated Item 105 (formerly Item 503) of
   Regulation S-K, which requires disclosure of material factors that make an investment
   “speculative or risky.” SAC ¶ 311. This argument fails for the same reason as Plaintiffs’
   Section 10(b) argument—Carnival’s risk disclosures were adequate given how little was known
   about the virus in January 2020. See City of Roseville Emps.’ Ret. Sys. v. EnergySolutions, Inc.,
   814 F. Supp. 2d 395, 426 (S.D.N.Y. 2011) (“Item [105] violations . . . track Rule 10b-5
   violations.”). Another court recently dismissed allegations that a company violated Item 105 by
   failing to disclose the risk posed by COVID-19 in its January 2020 SEC filings because plaintiffs
   failed to show “how Defendants would have known about the coronavirus risks” at that time.
   Berg v. Velocity Fin., Inc., 2021 WL 268250, at *10 (C.D. Cal. Jan. 25, 2021).
          Plaintiffs also repeat their allegation that Carnival misled investors when it purportedly
   told the press in January 2020 that the risks of COVID-19 to its guests, crew, and global business
   were “low.” SAC ¶¶ 298-99; compare AC ¶¶ 218-19. But the assessment of health authorities at
   the time was that the risk from COVID-19 was “low.” See, e.g., Ex. 7 at 2 (CDC describes the
   “risk to the American public” as “low” on January 30, 2020). As the Court previously explained,
   “it is plausible that Defendants did indeed believe the risk to Carnival’s business and passengers
   to be relatively low, as cases outside China were only then starting to surface,” and “pre-
   pandemic life was mostly unchanged.” Order 33. Indeed, as of January 30, 2020, there were
   only 83 confirmed cases of coronavirus and no confirmed deaths outside of mainland China.
   SAC ¶ 91. And Plaintiffs do not identify a single known case of COVID-19 aboard any cruise
   ship, much less a Carnival ship, in January 2020.
          In an effort to show that Defendants knew more than they disclosed about coronavirus,
   the SAC repeats the allegation that a former Carnival employee (“FE1”) had to find new



                                                                                                       14
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 20 of 32




   suppliers as plants and factories began shutting down in China due to the spread of COVID-19.
   SAC ¶ 89; compare AC ¶ 81. The Court previously rejected this allegation as “insignificant.”
   Order 19. The SAC adds a new allegation that FE1 recalls that a single unspecified and undated
   fulfillment order from Italy did not arrive because of a COVID-19 shutdown. SAC ¶ 89. This
   one-off incident is just as “insignificant” as the employee’s prior recollection, and does not
   suggest that Carnival somehow gained special insight into the scope or course of the pandemic.
   As the Court previously held, Plaintiffs fail to allege how this “amounts to Carnival having any
   more insight as to the impact of COVID-19 than the average person, whether in the United States
   or abroad, could readily ascertain.” Order 19. 8
           Plaintiffs repeat their allegation—nearly verbatim—that Defendants “uniquely
   underst[ood] the gravity of COVID-19 even before the WHO and United States government
   declared the outbreak a public health emergency,” because a Carnival officer spoke to a battery
   manufacturer in Wuhan and gained “insight” into the “global situation” on January 25, 2020.
   SAC ¶ 87; compare AC ¶ 80. The Court already rejected this argument as “vague” and
   “unpersuasive,” and noted that there was no allegation that the “battery manufacturer had and
   shared medically or scientifically based knowledge regarding the spread of coronavirus such that
   Carnival had an obligation to forewarn its investors of potential risks that were then unknown.”
   Order 19. Plaintiffs also allege that various travel bulletins and guidance issued in January 2020
   undermine Defendants’ contemporaneous statements about the risks of COVID-19. SAC ¶¶ 84-
   86, 300. But these allegations are repeated nearly verbatim from the prior complaint, cite
   precisely the same documents, and should be rejected again. Compare AC ¶¶ 94-96, 220.
                     2.       February 2020 Statements
           The SAC contains no allegations describing new misleading statements or omissions in
   February 2020, and there are no new allegations suggesting that Defendants gained unique
   insight into the scope of the pandemic that they failed to disclose. The SAC, like the AC, simply
   ignores the undisputed facts that the CDC did not recommend against cruise travel until March 8,
   2020. SAC ¶ 211. The U.S. Department of State also did not warn travelers of the dangers
   associated with COVID-19 on cruise ships generally until March 8, 2020. See id.; Ex. 8. The
   WHO did not issue guidance for handling COVID-19 on cruise ships until February 24, 2020—


   8
       Even if this employee did gain special insight into the impact of the virus, Plaintiffs do not allege that he ever
       communicated any of his observations to anyone, much less senior management. See infra 19-21.


                                                                                                                            15
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 21 of 32




   and even then, the WHO did not recommend that operators cancel cruises. See Ex. 9. The SAC
   therefore does not plausibly allege that Carnival’s management had better insight than these
   public health experts regarding the geographic extent and rapidity of the pandemic’s spread. 9 In
   Norwegian Cruise Lines, Judge Scola recently dismissed claims accusing a cruise company of
   actively downplaying the risks of COVID-19 aboard cruise ships in February and March 2020
   because the company’s statements—including that there was “[no] need to worry” and that
   coronavirus could not survive on vessels in “tropical temperatures”—“aligned with
   contemporaneous pronouncements” of the U.S. government. 2021 WL 1378296, at *5.
                     3.       March 2020 Statements
            The SAC identifies exactly the same allegedly misleading statements in March 2020
   included in the AC, including Donald’s opinion that “a cruise ship is not a riskier environment”
   than other crowded venues because it provides guests with “space and social distancing” and
   medical clinics. SAC ¶¶ 328-32; compare AC ¶¶ 251-55. The Court previously rejected these
   allegations because the alleged misstatements were made on or after the date that “Carnival
   announced a voluntary suspension of voyages in response to the pandemic,” and no statement
   “could reasonably mislead investors at that stage of the pandemic.” Order 25. The alleged
   misstatements were also made after Carnival issued an SEC filing on March 16, 2020, which
   warned investors that “the ongoing effects of COVID-19 on [Carnival’s] operations and global
   bookings will have a material negative impact on its financial results and liquidity,” and “we
   expect results of operations for the fiscal year ending November 30, 2020 to result in a net loss.”
   SAC ¶ 231. Just as before, Plaintiffs’ failure to “reconcile the conflict” between the alleged
   misstatements and this robust disclosure fatally undermines their allegations. Order 25. 10


   9
        The SAC repeats the allegations in the AC that Carnival’s February 12, 2020 press release and 2019 annual
        report were misleading. See SAC ¶¶ 314, 320; compare AC ¶¶ 132, 236. But repeating these allegations does
        not improve them; the SAC once again omits the fact that these documents disclosed that the coronavirus
        caused the Company to suspend cruise operations and impose travel restrictions in Asia, and that, as a result, the
        coronavirus would “have a material impact” on its financial performance. Ex. 10 at 12; Ex. 11.
   10
        The Court previously found that Carnival Cruise Line’s statement that it “had not had a diagnosed case linked to
        [its] operation” was false because it “connected to Carnival cruises generally” and not only to the Carnival
        Cruise Line brand. Order 23-25. Defendants respectfully ask the Court to reconsider. Carnival Cruise Line is
        one of the many brands operated by Carnival Corp. & plc, the parent company. The statement at issue was a
        one-page document titled “Carnival Cruise Line Announces Pause In Service.” Ex. 12. The document
        indicated that the report was “provided by Carnival Cruise Line,” described the “source” as “Carnival Cruise
        Line,” and began: “Carnival Cruise Line announced today that it is pausing operations immediately across its
        fleet of ships based in North America.” Id. The entire document unambiguously referred to Carnival Cruise
        Line (the brand), including the statement that “Carnival has not had a diagnosed case linked to our operation.”


                                                                                                                       16
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 22 of 32




             C.       Plaintiffs Have Abandoned Their Theory That Defendants Misled Investors
                      about Carnival’s Commitment to Passenger Health and Safety
             The SAC appears to have abandoned the claim that Defendants’ statements affirming
   Carnival’s commitment to the health and safety of its guests and crew were materially
   misleading. See, e.g., SAC ¶ 290; see also, e.g., Ex. 3 ¶¶ 1, 69-71, 90, 109, 126, 148, 245, 281,
   290 (striking references to Defendants’ “commitment” to health and safety).
             To the extent the SAC continues to pursue this theory, it should be rejected for the
   reasons stated in the Court’s May 28 Order. As explained above, the SAC fails to show “how
   Defendants were non-compliant with applicable guidelines and recommendations.” Order 30;
   supra Section I.A.1. And “many of Defendants’ statements described Carnival’s ongoing efforts
   and initiatives in furtherance of its health and safety goals.” Order 30 (citing Carnival’s creation
   of a new compliance position); accord Order 33 (“Defendants did indeed take measures to
   further their health and safety goals, even if those efforts would ultimately prove to be
   unsuccessful in the face of a global pandemic.”). If anything, the SAC adds additional examples
   of Carnival’s health and safety efforts, including allegations that Carnival deployed additional
   ships to deliver medical supplies and personnel to assist passengers in need. See SAC ¶¶ 209,
   226-27.
             In any event, statements from cruise lines affirming their commitment to “the safety of
   our guests and crew” are “extremely vague and constitute corporate puffery and thus, are not
   actionable.” Norwegian Cruise Lines, 2021 WL 1378296, at *6 (citing In re Royal Caribbean
   Cruises Ltd. Sec. Litig., 2013 WL 3295951, at *12 (S.D. Fla. Apr. 19, 2013)). 11
   II.       The SAC Fails to Allege Scienter
             The Court previously held that even if the statements alleged in the complaint were
   materially false or misleading, Plaintiffs “have not sufficiently alleged a strong inference” of


         Id. (emphasis added). By contrast, Carnival Corp. & plc (the parent company) issued a separate press release
         the same day announcing that four “brands includ[ing] Carnival Cruise Line” were suspending operations. Ex.
         13; see SAC ¶ 216. That document indicated that the report was “provided by Carnival Corporation & plc,”
         described the “source” as “Carnival Corporation & plc,” and began: “Carnival Corporation & plc . . . today
         announced that four additional North American cruise line bands” would suspend voyages. Ex. 13. Plaintiffs
         do not allege that any diagnosed cases were linked to the Carnival Cruise Line brand. Even if the statement was
         false, however, it could not “reasonably mislead investors” because it was made on the same day that Carnival
         voluntarily suspended its voyages in response to the pandemic, as the Court previously held. Order 25.
   11
         See also Howard v. Arconic Inc., 395 F. Supp. 3d 516, 546–49 (W.D. Pa. 2019) (commitments to “product
         safety” and “[Environment, Health and Safety] Value[s]” are not actionable); Ong v. Chipotle Mexican Grill,
         Inc., 294 F. Supp. 3d 199, 219, 232 (S.D.N.Y. 2018) (commitments to “food safety” are not actionable).



                                                                                                                       17
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 23 of 32




   scienter. Order 32-33. First, Plaintiffs failed to show that “Defendants possessed some greater
   knowledge than the CDC or the WHO as to the devastation COVID-19 would ultimately cause.”
   Id. 33. Second, Defendants’ efforts to further health and safety goals, such as voluntarily
   pausing Carnival’s voyages, “cut against” scienter and rendered Plaintiffs’ theory not “as
   compelling as the opposing inferences that one could draw from the facts alleged here.” Id. 33
   (emphasis in original). We address these two issues in turn.
            A.       The SAC Fails to Allege That Defendants Had Contemporaneous Knowledge
                     of Facts Contradicting Their Statements about the Risks of COVID-19
            The consensus among public health authorities in early 2020 was that the risks of
   COVID-19 were limited, and that certain preventative measures we take for granted today would
   not prevent the spread of the virus. See Order 33; supra Section I.B.12 Plaintiffs nonetheless ask
   the Court to infer that Defendants somehow had greater knowledge than the CDC or the WHO of
   the scale, severity, and eventual impact of COVID-19 in early 2020. See SAC ¶ 284. Plaintiffs
   rely on the exact same allegations as in the AC, and plead no facts to support this inference.
            The Court’s Order fully disposes of this contention. Nothing in the SAC undermines or
   calls into doubt the Court’s prior conclusion that “it is plausible that Defendants did indeed
   believe the risk to Carnival’s business and passengers to be relatively low” in early 2020. Order
   33. As the Court explained: “In January 2020, pre-pandemic life was mostly unchanged with no
   travel restrictions, other than perhaps travel to and from China. No mask mandates were in
   effect—nor were masks even recommended. While it is possible that in January 2020
   Defendants possessed some greater knowledge than the CDC or the WHO as to the devastation
   COVID-19 would ultimately cause, that argument does not give rise to the requisite strong
   inference of scienter to support a claim for securities fraud.” Id. (emphasis in original).
            Plaintiffs recycle the allegation that John Padgett learned about the “scale” and “severity”
   of the COVID-19 pandemic from a battery manufacturer in Wuhan on January 25, 2020, and, at
   some point, “shared [the information] with [Defendant] Donald.” SAC ¶¶ 87, 284; compare AC
   ¶¶ 80, 202. As explained above, supra 15, the Court already rejected this precise allegation as
   “vague” and “unpersuasive,” explaining that, “at best,” it imputes “knowledge of the conditions


   12
        See, e.g., Ex. 14 (February 3, 2020: WHO chief calls on countries not to impose restrictions “that ‘unnecessarily
        interfere with international travel and trade’”); Ex. 15 at 8 (February 12, 2020: WHO does “not recommend any
        specific health measures for travellers”); Ex. 16 (March 1, 2020: WHO states “If you are healthy, you only need
        to wear a mask if you are taking care of a person with suspected #coronavirus infection”).


                                                                                                                      18
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 24 of 32




   in Wuhan, China, based on the battery manufacturer’s personal observations.” Order 19.
          Plaintiffs also repeat—verbatim—their allegation that scienter can be inferred because
   Carnival “conducted extensive operations in Asia.” SAC ¶ 287; compare AC ¶ 205. But the
   wholly innocuous facts that Carnival launched a cruise ship “designed and built for the Chinese
   market” in 2017 and “described itself as ‘the leading cruise operator in Asia’” in 2018 do not
   raise a strong inference that the Company lied to investors about the risks of COVID-19. Id.
          Similarly, the (verbatim) recycled allegation that Carnival had previously experienced
   “outbreaks of infectious disease on board its cruise ships,” SAC ¶ 285, compare AC ¶ 203, does
   not suggest that the Company concealed information about COVID-19 outbreaks from investors.
   See Chiarenza v. IBSG Int’l, Inc., 2010 WL 3463304, at *5 (S.D. Fla. Sept. 2, 2010)
   (“Knowledge of this past problem, on its own . . . is not enough to establish scienter.”). Plaintiffs
   do not allege Carnival made any attempt to conceal this information from investors. See In re
   KLX, Inc. Sec. Litig., 232 F. Supp. 3d 1269, 1282–83 (S.D. Fla. 2017) (finding that prior
   disclosure of related negative information contradicts an inference of scienter). Nor does the
   severity of outbreaks aboard certain Carnival ships evince scienter. See Brophy v. Jiangbo
   Pharm., Inc., 781 F.3d 1296, 1304 (11th Cir. 2015) (affirming dismissal because plaintiffs
   “cannot persuasively allude to the magnitude of the [reporting errors] as a basis for a strong
   inference that [defendant executive] must have known of the errors as CFO”). The Court
   considered and implicitly rejected this allegation in its dismissal Order. See Order 31-32.
          B.      The SAC Fails to Allege That Defendants Had Contemporaneous Knowledge
                  of Facts Contradicting Their Statements about Regulatory Compliance
          As detailed above, the SAC does not identify a single regulation violated by a single
   Carnival vessel during the Class Period. Supra Section I.A.1. Yet even if Plaintiffs’ new
   allegations described isolated incidents of regulatory violations, Plaintiffs fail to plead—even in
   conclusory fashion—that information about any violation was ever communicated to Donald or
   any other member of senior management during the Class Period. The SAC thus fails to plead a
   strong inference of scienter. See Mizzaro v. Home Depot, Inc., 544 F.3d 1230, 1253 (11th Cir.
   2008) (finding scienter allegations inadequate where complaint lacked particularized allegations
   that facts contradicting public statements were reported to senior management during the class
   period); Norwegian Cruise Lines, 2021 WL 1378296, at *9 (finding plaintiff failed to plead a
   strong inference that cruise line’s statements concerning COVID-19 were made with scienter
   because the complaint failed to identify any evidence connecting the individual defendants to the


                                                                                                     19
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 25 of 32




   alleged fraud, or imputing other employees’ knowledge of the fraud to senior executives). 13
            Plaintiffs nonetheless ask the Court to infer that Donald must have known about isolated
   regulatory infractions because of his position as CEO and “access to” such information. SAC
   ¶ 36. The SAC’s only new scienter allegation is attributed to FE3, who recalls that, “as early as
   late January,” the Company held daily meetings to discuss “illness rates and all progress
   reports.” SAC ¶ 279. Plaintiffs allege that “the entire C-suite” attended these meetings, and FE3
   was “first pulled into” the meetings “around February 5, 2020.” Id. FE3 does not allege that
   there was any discussion during these meetings of Carnival’s health protocols or regulatory
   compliance, nor does he assert that there was any discussion of the way health protocols were
   actually being implemented aboard any vessel. The SAC thus fails to allege that management
   was made aware that any of its contemporaneous statements were inaccurate. In fact, FE3 does
   not describe any specific meeting he attended, and fails to identify (even in conclusory fashion)
   any information contradicting Defendants’ public statements that was discussed at any meeting.
   These vague allegations do not support an inference of scienter. See Garfield v. NDC Health
   Corp., 466 F.3d 1255, 1265 (11th Cir. 2006) (holding that allegations about a meeting involving
   senior executives were insufficiently particularized where the complaint “failed to allege what
   was said at the meeting, to whom it was said, or in what context”).
            To the extent Plaintiffs rely on FE3’s subjective but unexpressed “belief” that Carnival’s
   safety protocols were inadequate, supra 11, those allegations also do not raise a strong inference
   of scienter. There are no allegations—even conclusory ones—that FE3 shared his observations
   or belief with anyone, much less a member of senior management. See SAC ¶ 132; Mizzaro, 544
   F.3d at 1253; Norwegian Cruise Lines, 2021 WL 1378296, at *9. In any event, the criticism of a
   single midlevel employee does not give rise to an inference of scienter. See Druskin v.
   Answerthink, Inc., 299 F. Supp. 2d 1307, 1334 (S.D. Fla. 2004) (allegations of confidential
   witnesses insufficient to support inference of scienter where they “amount[ed] to no more [than]
   former employees who either disagreed with management’s decisions or held personal beliefs
   unsupported by particularized factual allegations”).


   13
        Accord Mogensen v. Body Cent. Corp., 15 F. Supp. 3d 1191, 1220 (M.D. Fla. 2014) (adequately pleading
        scienter requires particularized allegations such as “specific details of first-hand interactions with a defendant in
        which they advised him that existing facts contradicted his public disclosures”); Fidel v. Rampell, 2005 WL
        5587454, at *7 (S.D. Fla. Mar. 29, 2005) (scienter allegations inadequate when complaint failed to allege that
        defendants were directly told specific information that contradicted their public disclosures).


                                                                                                                          20
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 26 of 32




            Every one of the SAC’s remaining scienter allegations is repeated—often verbatim—
   from the prior complaint. Plaintiffs once again allege that Donald must have known of specific
   regulatory violations throughout the Class Period because in early February 2020 he was “dialing
   into the situation updates” and participating in unspecified “crisis-response meetings.” SAC
   ¶ 278; compare AC ¶ 197. But the SAC provides no details about who attended these meetings
   and what was said, much less that Donald learned facts contradicting Defendants’ public
   statements about the virus. See Mizzaro, 544 F.3d at 1253; Norwegian Cruise Lines, 2021 WL
   1378296, at *9. The Court previously dismissed the AC notwithstanding the allegation that
   “Donald was directly involved in Carnival’s COVID-19 crisis response.” See Order 31.14
            Plaintiffs also re-allege that Defendants must have known about supposed regulatory
   violations because Carnival’s Board maintains a HESS Committee which “interact[s] frequently
   with Company management and the rest of the Board of Directors.” SAC ¶ 283; compare AC
   ¶ 201. Plaintiffs add the unremarkable allegation that Carnival’s Chief Ethics and Compliance
   Officer reported to the Company’s CEO. See SAC ¶ 278. Fatally, however, the SAC once again
   contains no allegations describing any meeting of the HESS Committee, much less a particular
   meeting at which Donald or any senior executive, including the Chief Ethics and Compliance
   Officer, was in attendance and briefed on any allegedly contrary fact identified in the SAC. See
   Henningsen v. ADT Corp., 161 F. Supp. 3d 1161, 1200 (S.D. Fla. 2015) (finding allegation that
   CEO would “always” attend meetings where attrition and competition were discussed
   insufficient to demonstrate scienter with respect to alleged misrepresentations regarding the
   effect of competition on customer attrition). The allegation that scienter can be inferred from
   “the mere existence of an internal reporting system, and the mere active engagement of
   management,” is “precisely the type[] of vague allegation[] that the PSLRA was meant to
   curtail.” Mogensen, 15 F. Supp. 3d at 1220–21 (citations omitted).15


   14
        The SAC repeats the allegation that Donald was copied on an email from the CDC on April 5, 2020, where the
        CDC voiced concern about Carnival’s plan for repatriating passengers. SAC ¶ 280; compare AC ¶ 198. But
        the email contains no suggestion of any wrongdoing by Carnival, and, in any event, post-dates the Class Period
        and cannot show Donald’s knowledge of contrary facts during the Class Period. See Durham v. Whitney Info.
        Network, Inc., 2009 WL 3783375, at *19 (M.D. Fla. Nov. 10, 2009) (absent a link to knowledge or theory of
        fraud during the class period “any post class [period] developments are not relevant or indicative of scienter”).
   15
        Although the SAC does not explicitly mention the “core operations” doctrine, Plaintiffs previously argued that
        it supported scienter in their brief opposing Defendants’ motion to dismiss. See Dkt. 64 at 34-35. The Court
        considered this argument, see Order 32, and implicitly rejected it. To the extent Plaintiffs rely on this doctrine,
        the Court should reject it again because the “Eleventh Circuit has never adopted the core operations doctrine,”


                                                                                                                         21
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 27 of 32




            C.       Defendants’ Conduct During the Class Period Was Fundamentally
                     Inconsistent with Scienter
            Because the “scienter analysis is comparative,” courts must consider “alternative
   inferences that arise from the Complaint’s allegations (and apparent omissions).” FindWhat
   Inv’r. Grp. v. FindWhat.com, 658 F.3d 1282, 1303 (11th Cir. 2011). The Court previously held
   that Plaintiffs’ theory of scienter is not “as compelling as the opposing inferences that one could
   draw from the facts alleged here.” Order 33. Nothing in the SAC changes the Court’s analysis.
            For example, the Court determined that Carnival’s affirmative decision to suspend its
   cruises worldwide in advance of the CDC’s No Sail Order—which had an immediate and
   substantial negative effect on the company’s bottom line—“cut against” Plaintiffs’ theory of
   scienter. Id.; see In re NDCHealth Corp., Inc., Sec. Litig., 2005 WL 6074918, at *9 (N.D. Ga.
   July 27, 2005) (finding that immediate disclosure of information that would have a negative
   impact on the company “weighs against a finding of scienter”).
            Several other allegations in the SAC similarly “cut against” Plaintiffs’ theory of scienter.
   Carnival’s voluntary, affirmative disclosures throughout the Class Period that COVID-19 could
   have a material negative impact on the business strongly suggest that the Company did not
   intend to deceive the public about the risks of COVID-19. E.g., Ex. 6 at 26; Ex. 11. Carnival
   also provided regular updates regarding the situations aboard several vessels described in the
   SAC, often on a daily basis. See, e.g., Exs. 17-18. “Defendants’ repeated public cautionary
   statements and disclosures would make little sense if Defendants had a plan to deceive the public
   on these very issues.” See Henningsen, 161 F. Supp. 3d at 1204.
            Although the Court did not have occasion to reach the issue, Plaintiffs’ theory of scienter
   is also implausible because they fail to identify any motive for any Defendant to defraud
   investors in early 2020. See In re KLX, 232 F. Supp. 3d at 1282 (finding that failure to allege
   “any personal motive” weighed against scienter). 16 Plaintiffs have not alleged that any Carnival
   executives or directors sold any of their Carnival shares during the class period, “an omission
   that weighs against inferring scienter.” Mizzaro, 544 F.3d at 1253; accord In re Altisource


        and “the core operations doctrine alone” could not satisfy “the PSLRA’s requirement that scienter be pled with
        particularity[.]” Plymouth Cty. Ret. Sys. v. Carter’s Inc., 2011 WL 13124501, at *17 (N.D. Ga. Mar. 17, 2011).
        The core operations doctrine also fails because Carnival’s compliance practices do not “constitute nearly all of
        [the] company’s business.” Thomas v. Shiloh Indus., Inc., 2017 WL 1102664, at *4 (S.D.N.Y. Mar. 23, 2017).
   16
        See In re Sunterra Corp. Sec. Litig., 199 F. Supp. 2d 1308, 1337 (M.D. Fla. 2002) (“It is also significant that the
        Amended Complaint contains no allegations as to [defendant’s] motive to commit or participate in fraud.”).


                                                                                                                        22
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 28 of 32




   Portfolio Sols., S.A. Sec. Litig., 2015 WL 12001262, at *14 (S.D. Fla. Sept. 4, 2015). To the
   contrary, Carnival plc repurchased more than 3 million of its own shares during the class period.
   See Ex. 19 at 7; SAC ¶ 22 (alleging that Carnival did not suspend share repurchases until the end
   of the class period). This fact is wholly inconsistent with scienter because no Company would
   purchase its own shares at a price it knows to be inflated. See In re Ocwen Fin. Corp. Sec. Litig.,
   2015 WL 12780960, at *10 (S.D. Fla. Sept. 4, 2015); Henningsen, 161 F. Supp. 3d at 1204.
          In essence, Plaintiffs are alleging that Carnival engaged in irrational and self-destructive
   behavior by continuing to operate cruises and make optimistic statements about its business,
   despite knowing that COVID-19 would inevitably cause passengers and crew to become sick or
   even die and its business to grind to a halt. The far more plausible inference is that Carnival, like
   the rest of world, was taken by surprise by the development of the pandemic and updated its
   disclosures as the situation unfolded. See Nguyen v. Endologix, Inc., 962 F.3d 405, 416–19 (9th
   Cir. 2020) (finding it more plausible that defendants modulated their public optimism over time
   regarding their clinical trials as more information became available than that they intentionally
   pursued a hopeless FDA approval process).
   III.   The SAC Fails to Allege Loss Causation
          Plaintiffs point to three SEC filings as purported “corrective disclosures” that revealed
   the truth of Defendants’ fraud: (i) a filing on March 16, 2020, disclosing that Carnival believed
   COVID-19 “will have a material negative impact on its financial results and liquidity” and that
   the Company expected a “net loss” for the fiscal year, SAC ¶ 231, and (ii) two filings on March
   31, 2020, that disclosed substantially similar information in connection with Carnival’s public
   and private offerings of new shares, see id. ¶ 248. Although the Court did not reach this issue in
   the dismissal Order, see Order 10 n.2, these filings—the same identified in the prior complaint,
   see AC ¶¶ 150 & 167—do not satisfy Plaintiffs’ burden for pleading loss causation.
          First, the SAC does not adequately allege loss causation because the March disclosures
   did not reveal the alleged falsity of the statements identified in the SAC. See Meyer v. Greene,
   710 F.3d 1189, 1200 (11th Cir. 2013). The Supreme Court’s recent decision in Goldman Sachs
   Group, Inc. v. Arkansas Teacher Retirement System, 141 S. Ct. 1951 (June 21, 2021)—which
   postdates the dismissal Order—is on point. There, the Court explained that the inference that a
   later disclosure corrects an earlier misrepresentation—and therefore causes an investor’s loss—
   “starts to break down when there is a mismatch between the contents of the misrepresentation



                                                                                                       23
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 29 of 32




   and the corrective disclosure.” Id. at 1961. Such a mismatch “may occur when the earlier
   misrepresentation is generic (e.g., ‘we have faith in our business model’) and the later corrective
   disclosure is specific (e.g., ‘our fourth quarter earnings did not meet expectations’).” Id. The
   SAC contains precisely such a “mismatch.” The “generic” alleged misrepresentations in the
   SAC (e.g., “[w]e are dedicated to fully complying with, or exceeding, all legal and statutory
   requirements,” SAC ¶ 301), stand in sharp contrast to the “specific” corrective disclosures that
   allegedly later caused Carnival’s stock to decline (e.g., “we expect results of operations for the
   fiscal year ending November 30, 2020 to result in a net loss,” SAC ¶ 231). This “mismatch” is
   almost identical to the example identified as insufficient by the Supreme Court.
            Second, Plaintiffs indulge in a fiction that it was Carnival’s conduct aboard certain
   vessels that caused the Company’s stock to drop. But the obvious reason that the Company’s
   stock dropped in March 2020 was the suspension of Carnival’s global business. The March
   disclosures specifically cite the fact that Carnival implemented a “pause” of its “global fleet
   cruise operations across all brands” as a reason for its negative financial outlook. See Ex. 20 at
   4; Ex. 21 at 10. Even if Carnival had done a better job responding to the pandemic, the
   Company’s stock still would have plummeted after it was forced to abruptly cancel its worldwide
   business operations in March 2020. Plaintiffs’ failure to “allege facts sufficient to apportion the
   losses between the [factors] that ultimately destroyed [their] investment” renders their loss
   causation allegations inadequate. Waterford Twp. Gen. Emps. Ret. Sys. v. SunTrust Banks Inc.,
   2010 WL 3368922, at *4 (N.D. Ga. Aug. 19, 2010) (quotation and citation omitted). 17
            Finally, neither disclosure could have caused investors’ losses because Carnival warned
   of the risks that materialized and the information “revealed” in the disclosures was already
   public. As described above, Defendants repeatedly disclosed prior to March 16, 2020 that
   COVID-19 would have a material negative impact on the Company’s finances. See Ex. 6 at 26;
   Ex. 11. Under clear Eleventh Circuit law, investors cannot establish loss causation when they
   seek to recover losses attributable to “market forces that [defendant] warned of.” Hubbard v.
   BankAtlantic Bancorp, Inc., 688 F.3d 713, 729–30 (11th Cir. 2012). Moreover, Carnival and the
   press reported the events aboard Carnival vessels described in the SAC long before the March


   17
        See also In re HomeBanc Corp. Sec. Litig., 706 F. Supp. 2d 1336, 1361 (N.D. Ga. 2010) (loss causation not
        pleaded where complaint “fails to make any allegations that would allow the Court to distinguish between any
        losses caused by the Defendants’ alleged misrepresentations and the collapse of the [] industry as a whole”).


                                                                                                                    24
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 30 of 32




   disclosures. See, e.g., Exs. 17-18, 22; accord SAC ¶ 315 (quoting New York Times article, Ex.
   22, with sub-headline: “Carnival could be hurt financially after passengers on two of its ships
   [Diamond Princess and Westerdam] were found to be infected”). Because the purported
   corrective disclosures merely confirmed negative information already known to the market, they
   did not cause Plaintiffs’ loss. See Luczak v. Nat’l Beverage Corp., 812 F. App’x 915, 926 (11th
   Cir. 2020) (“If a document discusses only information of which the market is already aware . . . it
   is simply insufficient to constitute a corrective disclosure.”) (quotation omitted).
   IV.       If Plaintiffs’ Claims Are Not Dismissed, the Class Period Should Be Shortened
             The alleged Class Period begins on September 16, 2019, the date on which Carnival
   announced the creation of the IAG, a team “focused on investigating and analyzing so-called
   ‘HESS issues.’” SAC ¶ 67. But the SAC provides no explanation for why the Class Period
   should begin on that date. Plaintiffs do not allege that the IAG did or failed to do anything, or
   that the Company concealed anything from investors about the IAG. The SAC does not allege
   that Defendants misled investors about the risks of COVID-19 until January 28, 2020, when
   Carnival allegedly described the risk of coronavirus as “low” despite its supposed knowledge to
   the contrary. See SAC ¶ 90. And the SAC does not allege that Carnival violated any regulations
   until the events aboard the Diamond Princess in February 2020. See SAC ¶ 95.
             Plaintiffs make the wholly conclusory argument that “[t]he failings associated with the
   coronavirus outbreaks on Carnival’s ships” reflected inadequate health and safety protocols “that
   existed at the beginning of the Class Period.” SAC ¶ 79. But there are no well-pleaded facts that
   support this allegation. To the contrary, the section of the SAC alleging supposed misstatements
   in 2019, id. ¶¶ 67-79, points exclusively to events occurring in 2020 for support, id. ¶¶ 75-76, 78.
   Although the Court declined to reach this issue in the dismissal Order, see Order 10 n.2, the
   Class Period should begin no earlier than the date on which Defendants are actually alleged to
   have misled investors—January 28, 2020. See In re Miva, Inc., Sec. Litig., 2008 WL 681755, at
   *2 (M.D. Fla. Mar. 12, 2008) (excising 17 months from the beginning of a class period because
   the alleged misstatements during that period “were not actionable”). 18
                                                     CONCLUSION
             The Court should dismiss the SAC with prejudice.


   18
         The Section 20(a) claim should be dismissed because Plaintiffs fail to plead a predicate violation of Section
         10(b). See McClain v. Iradimed Corp., 111 F. Supp. 3d 1293, 1307 (S.D. Fla. 2015).


                                                                                                                         25
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 31 of 32




                                     REQUEST FOR HEARING

          Pursuant to L. R. 7.1(b)(2), Defendants respectfully request a hearing on the Motion.
   Defendants believe a hearing would be helpful given the complexity of the underlying issues,
   allegations, and factual timeline involved in this matter and will assist the Court in adjudicating
   the Motion. Defendants estimate that sixty (60) minutes will be sufficient.


   Dated: August 6, 2021
          Miami, Florida
                                                      Respectfully submitted,

                                                      NELSON MULLINS BROAD AND
                                                        CASSEL

                                                      /s/ Mark F. Raymond
                                                      Mark F. Raymond
                                                      Florida Bar No. 373397
                                                      Erin K. Kolmansberger
                                                      Florida Bar No. 94104
                                                      2 South Biscayne Blvd. 21st Floor
                                                      Miami, FL 33131
                                                      Tel: 305-373-9425
                                                      Fax: 305-995-6384
                                                      Email: mark.raymond@nelsonmullins.com
                                                              erin.kolmansberger@nelsonmullins.com

                                                      PAUL, WEISS, RIFKIND,
                                                         WHARTON & GARRISON LLP
                                                      Theodore V. Wells Jr.
                                                      (admitted pro hac vice)
                                                      Richard A. Rosen
                                                      (admitted pro hac vice)
                                                      Daniel S. Sinnreich
                                                      (admitted pro hac vice)
                                                      1285 Avenue of the Americas
                                                      New York, New York 10019
                                                      Tel: 212-373-3000
                                                      Fax: 212-757-3990
                                                      Email: twells@paulweiss.com
                                                              rrosen@paulweiss.com
                                                              dsinnreich@paulweiss.com

                                                      Counsel for Defendants


                                                                                                     26
Case 1:20-cv-22202-KMM Document 79 Entered on FLSD Docket 08/06/2021 Page 32 of 32




                                    CERTIFICATE OF SERVICE

                  I hereby certify that, on August 6, 2021, a copy of the foregoing Defendants’
   Motion to Dismiss the Second Amended Class Action Complaint was filed electronically.
   Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
   filing system. Parties may access this filing through the Court’s CM/ECF System.



                                                       /s/ Mark F. Raymond
                                                       Mark F. Raymond
                                                       Florida Bar No. 373397
                                                       Erin K. Kolmansberger
                                                       Florida Bar No. 94104
                                                       2 South Biscayne Blvd. 21st Floor
                                                       Miami, FL 33131
                                                       Tel: (305) 373-9425
                                                       Fax: (305) 995-6384
                                                       E-mail: mark.raymond@nelsonmullins.com
                                                                erin.kolmansberger@nelsonmullins.com


                                                          Attorney for Defendants




                                                                                                        27
